      Case 1:18-cv-06588-KPF Document 23 Filed 08/13/18 Page 1 of 2




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                                                                        August 13, 2018
           Case 1:18-cv-06588-KPF Document 23 Filed 08/13/18 Page 2 of 2

Application GRANTED.   No further extensions will be granted.

Dated:    August 13, 2018               SO ORDERED.
          New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
